304 U.S. 565
    58 S.Ct. 951
    82 L.Ed. 1531
    Georgia M. SPRUILL, petitioner,v.Harryman DORSEY.*
    No. 985.
    Supreme Court of the United States
    May 2, 1938
    
      1
      Georgia M. Spruill, pro se.
    
    
      2
      On petition for writ of certiorari to the United States Court of Appeals for the District of Columbia.
    
    
      3
      The motion for leave to proceed further herein in forma pauperis is denied for the reason that the Court, upon examination of the papers herein submitted, finds no ground upon which writ of certiorari should be issued. The petition for writ of certiorari is therefore also denied.
    
    
      
        *
         Rehearing denied 304 U.S. 590, 58 S.Ct. 1055, 82 L.Ed. ——.
      
    
    